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                                      United States District Court
                                                 WESTERN DISTRICT OF TEXAS
                                                       ANTONIO DIVISION
                                                   SAN ANTONIO

 UNITED STATES OF AMERICA
                                                                              Case Number: 5:18-CR-00435-XR(3)
 v.                                                                           USM Number: 09278-480

 BRANDON MORRIS
 Aliases: Morris, Brandon Charles; Morris,
 Brandon M.

         Defendant.

                                          JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)

         The defendant, BRANDON MORRIS, was represented by Alan Brown , Esq.

         Dismiss Counts: On Motion of the United States, the Court has dismissed the remaining counts as to this defendant

         The defendant pled guilty to Count(s) One (1), of the Superseding Information on June 23, 2021 Accordingly, the defendant
is adjudged guilty of such Count(s), involving the following offense(s):

        Title & Section                         Nature of Offense                       Offense Ended                    Count

       21 U.S.C. § 841(a)(1)           Conspiracy to Possess with Intent to              June 4, 2018                    One (1)
      21 U.S.C. § 841(b)(1)(B)           Distribute Methamphetamine
         21 U.S.C. § 846


         As pronounced on November 16, 2021, the defendant is sentenced as provided in pages 2 through 7 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

          Signed this 22nd day of November, 2021.




                                                                                       Xavier Rodriguez
                                                                                      United States District Judge
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DEFENDANT:                 BRANDON MORRIS
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                                                     IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
One Hundred Eight (108) Months as to Count One (1) with credit for time served while in custody for this federal offense pursuant
to 18 U.S.C. § 3585(b).


         The Court makes the following recommendations to the Federal Bureau of Prisons:

         1.   That the defendant be incarcerated at FCI Bastrop or FCI Three Rivers.


        The defendant shall remain in custody pending service of sentence.




                                                             RETURN

I have executed this judgment as follows:




        Defendant delivered on                                     to

at                                      , with a certified copy of this judgment.



                                                                                       UNITED STATES MARSHAL



                                                                                                 By
                                                                                    DEPUTY UNITED STATES MARSHAL
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                                                   SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of Five (5) years.

         While on supervised release, the defendant shall comply with the mandatory and standard conditions that have been adopted
by this Court on November 28, 2016, and shall comply with the following additional conditions:



    1.   The defendant shall participate in a mental health treatment program and follow the rules and regulations of that program.
         The probation officer, in consultation with the treatment provider, shall supervise participation in the program (provider,
         location, modality, duration, intensity, etc.). The defendant shall pay the costs of such treatment if financially able.


    2.   The defendant shall take all mental health medications that are prescribed by the treating physician
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                                          CONDITIONS OF SUPERVISION
Mandatory Conditions:

    [1]    The defendant shall not commit another federal, state, or local crime during the term of supervision.

    [2]    The defendant shall not unlawfully possess a controlled substance.

    [3]    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
           within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by
           the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if the defendant’s
           presentence report or other reliable sentencing information indicates low risk of future substance abuse by the defendant.

    [4]    The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of such a
           sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

    [5]    If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34
           U.S.C. § 20901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex offender registration
           agency in which the defendant resides, works, is a student, or was convicted of a qualifying offense.

    [6]    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
           program for domestic violence.

    [7]    You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
           applicable)

    [8]    The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.

    [9]    If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

    [10]   The defendant shall notify the court of any material change in the defendant’s economic circumstances that might affect the
           defendant’s ability to pay restitution, fines or special assessments.


Standard Conditions:

    [1]    The defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside within
           72 hours of release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
           office or within a different time frame.

    [2]    After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
           about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed.

    [3]    The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first
           getting permission from the court or the probation officer.

    [4]    The defendant shall answer truthfully the questions asked by the probation officer.

    [5]    The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
           or anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
           probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
           unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a change
           or expected change

    [6]    The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
           defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that
           are observed in plain view.
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   [7]    The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
          excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to find full­
          time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where
          the defendant works or anything about his or her work (such as the position or job responsibilities), the defendant shall notify
          the probation officer at least (10) days before the change. If notifying the probation officer at least 10 days in advance is not
          possible due to unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming
          aware of a change or expected change.

   [8]    The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
          defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with
          that person without first getting the permission of the probation officer.

   [9]    If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within
          72 hours.

   [10]   The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
          (i.e., anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another person
          such as nunchakus or tasers).

   [11]   The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
          informant without first getting the permission of the court.

   [12]   If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation
          officer may require the defendant to notify the person about the risk and the defendant shall comply with that instruction.
          The probation officer may contact the person and confirm that the defendant has notified the person about the risk.

   [13]   The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

   [14]   If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
          penalties in accordance with the Schedule of Payments sheet of the judgment.

   [15]   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
          supervision that the defendant shall provide the probation officer access to any requested financial information.

   [16]   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
          supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval
          of the probation officer, unless the defendant is in compliance with the payment schedule.

   [17]   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision
          shall be a non-reporting term of probation or supervision release. The defendant shall not illegally re-enter the United States.
          If the defendant is released from confinement or not deported, or lawfully re-enters the United States during the term of
          probation or supervised release, the defendant shall immediately report to the nearest U.S. Probation Officer.
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                                           CRIMINAL MONETARY PENALTIES/SCHEDULE

              The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
     forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
     penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau
     of Prisons’ Inmate Financial Responsibility Program shall be paid through the Clerk, Attn: Mail Log, 655 E. Cesar E. Chavez Blvd,
     Room G65, San Antonio, TX 78206 or online by Debit (credit card not accepted) or ACH payment (direct from Checking or Savings
     account) through pay.gov (link accessible on the landing page of the U.S. District Court’s Website). Your mail-in or online
     payment must include your case number in the exact format of the DTXW518CR000435-003 to ensure proper application to
     your criminal monetary penalty. The defendant shall receive credit for all payments previously made toward any criminal monetary
     penalties imposed.

                                                                                Assessment                                               Fine                                  Restitution
       TOTALS                                                                      $100.00                                               $.00                                         $.00

                                                                                SPECIAL ASSESSMENT

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00. Payment of this sum shall
     begin immediately.

                                                                                               FINE

                  The fine is waived because of the defendant’s inability to pay.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.
            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.
           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).
             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
            Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                        FORFEITURE

        The defendant is ordered to forfeit the following property to the United States:



   1.   $3,450.00 More or Less in United States Currency.
